Case 2:15-cv-01673-JCM-GWF Document 10-6 Filed 01/06/16 Page 1 of 4




                     EXHIBIT 6
                     Declaration of
                     Trey A. Rothell
     Case 2:15-cv-01673-JCM-GWF Document 10-6 Filed 01/06/16 Page 2 of 4




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2
                                UNITED STATES DISTRICT COURT
3                                   DISTRICT OF NEVADA
4
       AMA MULTIMEDIA, LLC, a Nevada                 Case No.: 2:15-cv-01673-JCM-GWF
5      limited liability company,
                                                     DECLARATION OF TREY A. ROTHELL
6                  Plaintiff,                        IN SUPPORT OF MOTION TO
7                                                    COMPEL ARBITRATION
       v.
8
       BORJAN SOLUTIONS, S.L. d/b/a
9
       SERVIPORNO, a Spanish company;
10     and BORJAN MERA URRESTARAZU,
       an individual,
11
                   Defendants.
12
13
      I, TREY A. ROTHELL, declare:
14
            1.    I am over 18 years of age and have never been convicted of a
15
                  crime involving fraud or dishonesty. I am employed as a paralegal
16
                  for Randazza Legal Group, PLLC. I have first hand knowledge of the
17
                  facts set forth herein, and if called as a witness, could and would
18
                  testify competently thereto.
19
            2.    On or about the date of July 21, 2015, I first spoke with ADR
20
                  Services, Inc. (“ADR”) Manager Haward Cho via telephone.
21
            3.    Prior to that date, I had familiarized myself with the ADR Arbitration
22
                  Rules; I called Mr. Cho to clarify the procedure for submitting the
23
                  matter to arbitration.
24
            4.    During my conversations with Mr. Cho prior to Plaintiff submitting the
25
                  demand for arbitration, Mr. Cho indicated that because ADR’s rules
26
                  were not explicitly incorporated into the settlement agreement
27
                                                 -1-
                                     Motion to Compel Arbitration
                                      2:15-cv-01673-JCM-GWF
     Case 2:15-cv-01673-JCM-GWF Document 10-6 Filed 01/06/16 Page 3 of 4




1                 between the parties, ADR would only accept the matter for
2                 arbitration if both parties consented to the arbitration or if a court
3                 ordered the arbitration.
4           5.    Mr. Cho stated to me that Plaintiff AMA should follow the regular
5                 course of submitting a demand for arbitration and, if the
6                 respondents cooperate, the arbitration would commence.
7           6.    Based on ADR Arbitration Rules and my conversations with Mr. Cho,
8                 on August 3, 2015, I transmitted AMA’s Demand for Arbitration and
9                 Arbitration Complaint to ADR; I contemporaneously mailed a copy
10                to Mr. Gurvits.     A true and correct copy of the Demand for
11                Arbitration and Arbitration Complaint is attached to the Motion to
12                Compel Arbitration filed herewith as Exhibit 5.
13          7.    On August 11, 2015, I called Mr. Cho to ask whether or not ADR had
14                received the Demand for Arbitration and Arbitration Complaint.
15                Mr. Cho stated that he had received the demand and that he
16                would reach out to counsel for the respondents that day.
17          8.    On August 18, 2015, I telephoned Mr. Cho to inquire as to the status
18                of the arbitration demand.
19          9.    Mr. Cho again stated that the arbitration would only commence
20                with the consent of all the parties and that to-date, he had been
21                unable to get in contact with the attorney for the respondents, Val
22                Gurvits.
23          10.   Mr. Cho further stated to me that in light of the fact that he left
24                multiple telephone messages for Mr. Gurvits, and that Mr. Gurvits
25                had not responded to any of Mr. Cho’s telephone calls, he
26                believed that Mr. Gurvits was intentionally ignoring him.
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                                                -2-
                                    Motion to Compel Arbitration
                                     2:15-cv-01673-JCM-GWF
     Case 2:15-cv-01673-JCM-GWF Document 10-6 Filed 01/06/16 Page 4 of 4




1           11.   On August 20, 2015, I received a document from Mr. Gurvits via
2                 FedEx    at   the   office    of    Randazza     Legal   Group   entitled
3                 “Respondents’ Motion to Dismiss Arbitration for Complainant’s
4                 Failure to Meet Conditions Precedent to the Filing of Arbitration and
5                 for the Award of Contractual Attorney’s Fees.”
6           12.   The transmittal letter indicated that the Motion had been
7                 transmitted on August 19, 2015.
8           13.   Upon receiving the document, I attempted to contact Mr. Cho in
9                 order to inquire about the status of the arbitration.
10          14.   I was finally able to contact Mr. Cho via telephone on August 25,
11                2015. At that time, Mr. Cho stated to me that since the respondents
12                were not cooperating with or participating in the arbitration, ADR
13                would not submit the matter to an arbitrator.
14
15          I declare under penalty of perjury under the laws of the State of Nevada
16    that the foregoing is true and correct.
17
18          Executed on January 6, 2016 at Las Vegas, Nevada.
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20
                                                     Trey A. Rothell
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                                               -3-
                                   Motion to Compel Arbitration
                                    2:15-cv-01673-JCM-GWF
